UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 FELIX CASTRO,
                               Plaintiff,
                                                          23 Civ. 07903 (JHR)
                       -v.-
                                                          ORDER
 SG AND ARL VENTURES, LLC,
                               Defendant.

JENNIFER H. REARDEN, District Judge:

       Plaintiff alleges that Defendant’s website is not accessible to blind and visually impaired

customers and, thus, violates Title III of the Americans with Disabilities Act (“ADA”), 42 U.S.C.

§ 12181 et seq. By separate Order today, the Court is referring this case to the assigned

Magistrate Judge for General Pretrial Purposes, including settlement.

       In addition, to conserve resources, to promote judicial efficiency, and in an effort to

achieve a faster disposition of this matter, it is hereby ORDERED that the parties must discuss

whether they are willing to consent, under 28 U.S.C. § 636(c), to conducting all further

proceedings before the assigned Magistrate Judge. If all parties so consent, counsel shall file on

ECF a fully executed Notice, Consent, and Reference of a Civil Action to a Magistrate Judge

form, available at https://www.nysd.uscourts.gov/forms/consent-proceed-us-magistrate-judge.

       If the parties do so, and the Court so orders the form, all further proceedings will then be

conducted before the assigned Magistrate Judge rather than before the undersigned. There will

be no adverse consequences if the parties do not consent to proceed before the Magistrate Judge.
      SO ORDERED.

Dated: September 8, 2023
       New York, New York


                                JENNIFER H. REARDEN
                                United States District Judge




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